EXHIBIT 1423-03004-cgb    Doc#139-14
           - EMAIL FROM CARRUTH TO RICEFiled  05/28/25
                                       (4.12.22)      Entered 05/28/25 18:09:38 Exhibit 14. Email
                                       from Carruth to Rice Pg 1 of 6
23-03004-cgb Doc#139-14 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 14. Email
                         from Carruth to Rice Pg 2 of 6




                    RELEASE OF LIEN GRANTED PURSUANT TO
                         BANKRUPTCY COURT ORDER
                       (WITH RESPECT TO LOT 1A ONLY)

STATE OF NEW MEXICO               §§
DONA ANA COUNTY                   §

Party Information and Defined Terms. The following descriptions below shall also constitute
defined terms which may be used throughout this instrument. Additional terms may be defined
below.

Date:                             April ___, 2022


Lender:                           Legalist DIP GP, LLC, a Delaware limited liability company
                                  as general partner of
                                  Legalist DIP Fund I, LP a Delaware limited partnership
                                  and Legalist DIP SPV II, LP a Delaware limited partnership


Lender’s Address:                 c/o Legalist, Inc.
                                  10120 W. Flamingo Rd., Ste. 4, No. 3015
                                  Las Vegas, NV 89147

Debtor:                           PDG Prestige, Inc.
                                  a Texas corporation

Debtor’s Address:                 154 N. Festival Dr., Suite D
                                  El Paso, TX 79912

Judicial Lien:                    The liens contained in that certain Final Order Granting
                                  Motion of Debtor to (I) Enter into Debtor Possession Credit
                                  Agrement, (II) Grant Priming Liens Under Code Sec. 364(D),
                                  and (III) Provide Related Relief (Docket No. 43) (the “DIP
                                  Order”) entered on April 12, 2021 in Case No. 21-30107, In
                                  re: PDG Prestige, Inc., in the United States District Court for
                                  the Western District of Texas, El Paso Division.



Subject Property:               The property that is the subject of this Release is referenced and
                                described in Exhibit 001.

PARTIAL RELEASE OF LIEN GRANTED PURSUANT
TO BANKRUPTCY COURT ORDER (Lot 1A) — Page 1                                            2124137.DOC
23-03004-cgb Doc#139-14 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 14. Email
                         from Carruth to Rice Pg 3 of 6



For good and value consideration, the receipt and sufficiency of which are acknowledged by the
Lender and the Debtor, the Lender has released and relinquished and discharges, and does by these
presents release and relinquish and discharge unto Debtor, its successors, its assigns, and their
successors and assigns, the above-described Judicial Lien with respect to the Subject Property, only.

It is expressly agreed and understood that this is a release of lien only with respect to the Subject
Property and that the same shall in no way release, affect, or impair said Judicial Lien against any
other property.

The Judicial Lien remains and shall remain in full force in effect with respect to all other referenced
and described collateral in the Judicial Lien and/or DIP Order unless and until separately and
expressly released by the Lender.




                                   {continued on following page}




PARTIAL RELEASE OF LIEN GRANTED PURSUANT
TO BANKRUPTCY COURT ORDER (Lot 1A) — Page 2                                                 2124137.DOC
23-03004-cgb Doc#139-14 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 14. Email
                         from Carruth to Rice Pg 4 of 6




                                              LEGALIST DIP FUND I, LP AND
                                              LEGALIST DIP SPV II, LP

                                              BY: ITS GENERAL PARTNER

                                              LEGALIST DIP GP, LLC



                                              BY:

                                              NAME: CHRISTIAN G.B. HAIGH
                                              TITLE: MANAGING MEMBER




THE STATE OF ____________                     §
                                              §
____________ COUNTY                           §

       Before me, a Notary Public in and for this state, on this April __, 2022, personally appeared
_____________________ and acknowledged to me that he/she executed the same as his/her free and
voluntary act and deed for the uses and purposes therein set forth.


                                                     ____________________________________
                                                     Notary Public, State of ____________




                                  {continued on following page}




PARTIAL RELEASE OF LIEN GRANTED PURSUANT
TO BANKRUPTCY COURT ORDER (Lot 1A) — Page 3                                               2124137.DOC
23-03004-cgb Doc#139-14 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 14. Email
                         from Carruth to Rice Pg 5 of 6
                                 EXHIBIT 001



                                      EXHIBIT “A”
                                   Property Description


Closing Date: April 18, 2022
Buyer(s):     LPC Retail, LLC
Property Address:     510 South Telshor Boulevard, Las Cruces, NM 88011

PROPERTY DESCRIPTION:

Lot 1A, MESILLA VALLEY MALL SUBDIVISION REPLAT NO. 5, in the City of Las Cruces,
Dona Ana County, New Mexico, as shown and designated on the plat thereof, filed in the office of
the County Clerk of said County on August 19, 2020, in Book 24 Page(s) 581-582 of Plat Records.




PARTIAL RELEASE OF LIEN GRANTED PURSUANT
TO BANKRUPTCY COURT ORDER (Lot 1A) — Page 4                                           2124137.DOC
                           FedEx Ship Manager - Print Your Label(s)
 rint your label to your laser or inkjet printer.
 ntal line.
x it to your shipment so that the barcode portion of the label can be read and scanned.
 bel for shipping. Using a photocopy of this label for shipping purposes is fraudulent and could result in
 cancellation of your FedEx account number.
ement to the service conditions in the current FedEx Service Guide, available on fedex.com.FedEx will not
f $100 per package, whether the result of loss, damage, delay, non-delivery,misdelivery,or misinformation,
 n additional charge, document your actual loss and file a timely claim.Limitations found in the current FedEx
 r from FedEx for any loss, including intrinsic value of the package, loss of sales, income interest, profit,
f damage whether direct, incidental,consequential, or special is limited to the greater of $100 or the
 not exceed actual documented loss.Maximum for items of extraordinary value is $1,000, e.g. jewelry,
 and other items listed in our ServiceGuide. Written claims must be filed within strict time limits, see current
                                            from Carruth to Rice Pg 6 of 6
nfirmationAction.handle?method=doContinue                                                                      1/1
                   23-03004-cgb Doc#139-14 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 14. Email
